                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               FRANKFORT DIVISION
                        CIVIL ACTION NO. 3:18-cv-00007-GFVT
                                 Electronically Filed


CARLOS ROMERO HERNANDEZ                                                     PLAINTIFF

v.              NOTICE TO TAKE VIDEOTAPED DEPOSITION OF
         WILLIAMS RESTORATION & WATERPROOFING, INC. PURSUANT
                     TO FED. R. CIV. P. 45 AND 30(B)(6)

BRANDSAFWAY SOLUTIONS, LLC
F/K/A MOBLEYSAFWAY SOLUTIONS, LLC
F/K/A MOBLEY INDUSTRIAL SERVICES, LLC                                     DEFENDANT

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       PLEASE TAKE NOTICE that Defendant BrandSafway Solutions, LLC f/k/a

MobleySafway Solutions, LLC f/k/a Mobley Industrial Services, LLC (“BrandSafway”),

pursuant to Fed. R. Civ. P. 45(a) and 30(b)(6), shall take the videotaped deposition of

Williams Restoration & Waterproofing, Inc. (“Williams Restoration”) on April 4, 2019,

beginning at the hour of 9:00 a.m., local prevailing time and continuing until complete,

at the offices of Timothy L. Bowden, Attorney at Law, 306 Northcreek Blvd., Suite 200,

Goodlettsville, Tennessee 37072. The deposition will be conducted before an officer

authorized to administer oaths and will be recorded by videographic and stenographic

means. The deposition shall be conducted for the purpose of discovery and for any

other purpose permitted by the Federal Rules of Civil Procedure.

       Pursuant to Federal Rule 30(b)(6), Williams Restoration is hereby advised that it

must designate one or more officers, directors, or managing agents, or other persons

who consent to testify on its behalf, and that it may set out the matters on which each

person designated will testify.
       Williams Restoration must designate a witness to testify on the following topics:

       1.     The organizational and management structure of Williams Restoration,

including its owners, officers, directors and shareholders, and the identity of those

individuals who report directly to the officers of the company.

       2.     All documents produced by Williams Restoration in connection with this

matter, whether provided to Kentucky OSH in its investigation or produced in response

to any subpoena.

       3.     The training history and any accompanying records for all safety training

offered to or completed by Williams Restoration employees Valentin Trujillo and Carlos

Romero Hernandez prior to or on February 15, 2017.

       4.     The employment history and performance of Carlos Romero Hernandez

with Williams Restoration, including hiring, changes in job responsibilities, disciplinary

actions, and any safety violations, including all documentation related thereto.

       5.     All safety and inspection policies, procedures, and documentation in effect

at the time Williams Restoration performed cleaning and restoration work on the

Kentucky State Capitol building in Frankfort, Kentucky, in late 2016 and early 2017

(“Capitol Project”), including but not limited to all policies and procedures pertaining to

inspection and use of scaffolding on the project.

       6.     All communications, whether internal or external, verbal or written,

pertaining to the erection, maintenance, tagging, use, and removal of scaffolding on the

Capitol Project.




                                             2
      7.     Any investigation performed by Williams Restoration into the incident

involving a fall by Carlos Romero Hernandez at the Capitol Project on February 15,

2017 (“Incident”), including all information learned during that investigation about the

circumstances and possible causes of the Incident.

      8.     The identity of all Williams Restoration owners, officers and employees

who may have knowledge of the Incident or the erection, maintenance, tagging, use,

and removal of the scaffolding on the Capitol Project, including any individuals who took

photographs or videos of the scaffolding or the area where the Incident occurred at any

time, or who have given a statement regarding the Incident.

      9.     The work activities, including all documents reflecting the same, that

Williams Restoration was performing at the Capitol Project on the day of the Incident

and the 10 days preceding the Incident.

      10.    Williams Restoration’s participation in and response to the investigations

performed by Kentucky OSH into the Incident and the citations issued by Kentucky OSH

to Williams Restoration in connection with the Incident.

      11.    Williams Restoration’s worker’s compensation policy and coverage in

effect on February 15, 2017.




                                             3
   Respectfully submitted,


By: /s/ Matthew R. Parsons
   Matthew R. Parsons
   Matt.parsons@skofirm.com
   STOLL KEENON OGDEN PLLC
   300 West Vine Street
   Suite 2100
   Lexington, KY 40507-1801
   Tel: (859) 231-3000
   Fax: (859) 253-1093
   Counsel for Defendant




       4
                              CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was served to the following on this
4th day of March, 2019:

         Via electronic and U.S. mail:
         George D. Jonson
         G. Todd Hoffpauir
         MONTGOMERY, RENNIE & JONSON
         36 East Seventh Street, Suite 2100
         Cincinnati, Ohio 45252
         Tel: (513) 241-4722
         Fax: (513) 241-8775
         Counsel for Plaintiff

         Via electronic mail and overnight courier:
         Everett Holzapfel III
         Williams Restoration & Waterproofing, Inc.
         141 Jones Boulevard
         La Vergne, TN 37086
         Everett@williamsrestorationtn.com

         Via electronic mail:
         Christopher D. Cravens
         chrisdcravens@bellsouth.net




                                       By: /s/ Matthew R. Parsons
                                          Counsel for Defendant

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